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                               MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101 LEK
 CASE NAME:              ANTHONY T. WILLIAMS


      JUDGE:       Leslie E. Kobayashi          DATE:            11/25/2019

COURT ACTION: EO: COURT ORDER DIRECTING THE GOVERNMENT AND
UNITED STATES MARSHALS SERVICE REGARDING PRODUCTION OF
DEFENDANT WILLIAMS TO THE FEDERAL BUILDING OR COURTHOUSE FOR
THE PURPOSE OF REVIEWING DISCOVERY NOT PERMITTED TO BE
TRANSPORTED INTO FDC HONOLULU

        At the court hearing held on November 19, 2019 regarding the Motion for In
Camera Status Conference and/or to Withdraw as Counsel, [filed 11/12/19 (dkt. no.
640),] Lars R. Isaacson, Esq., court-appointed stand-by counsel for pro se Defendant
Anthony T. Williams (“Williams”), represented that Plaintiff United States of America
(“the Government”) has provided discovery which includes encrypted data and that some
of the material contains visual depictions which are prohibited by Federal Bureau of
Prisons (“BOP”) rules and regulations from being transported into Federal Detention
Center - Honolulu (“FDC Honolulu” and “the restricted discovery”). While most of the
encrypted data has been turned over to Williams for his review of discovery in FDC
Honolulu, Mr. Isaacson has not been able to turn over the restricted discovery, which he
believes is prohibited by BOP. Thus, Williams has not reviewed the restricted discovery.
Further, Mr. Isaacson stated that certain property seized by the Government pursuant to a
search warrant and belonging to Williams has been returned by the Government (“the
returned property”), but Williams has not been able to examine the returned property
because he is detained at FDC Honolulu. Williams represented that he needs to examine
the returned property in order to prepare for trial.

       Based on Mr. Isaacson’s and Williams’s representations, the Court hereby
ORDERS the Government to make arrangements to provide a location within either the
Prince Jonah Kalanianaole Kuhio Federal Building or the United States Courthouse for
Williams and Mr. Isaacson to examine the returned property and to review the restricted
discovery. The Government shall provide the necessary computer terminal and other
supporting equipment necessary for Williams and Mr. Isaacson to review the restricted
discovery and the returned property. Mr. Isaacson may designate one staff member –
including, but not limited to, Paris Johnson – to assist Williams during the review, in
Mr. Isaacson’s place.
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        The Court FURTHER ORDERS the United States Marshals Service (“USMS”) to
transport Williams to and from FDC Honolulu for the purpose of examining the returned
property and reviewing the restricted discovery until Williams and Mr. Isaacson, or his
designee, have completed their review. Regarding Williams’ examination and review, the
Court ORDERS that Williams: shall not be permitted to enter or leave the location
designated for his examination and review without the permission of the USMS; shall be
permitted a minimum of two hours a day for his examination and review, but any amount
of time exceeding the two hours shall be at USMS’s discretion, based upon their
assessment of manpower and transportation availability; and shall be permitted a total of
15 hours for his examination and review. No request for additional time will be
considered until after Williams has completed the 15 hours of examination and review. If
at that time additional time is being requested, Williams shall file a written motion asking
for this Court’s permission and his request must state his reasons as to why he was not
able to complete the examination and review, and specific reasons for requesting
additional time.

       IT IS SO ORDERED.




Submitted by: Agalelei Elkington, Courtroom Manager
